                                                Case 20-62473-pmb                         Doc 40   Filed 07/30/20 Entered 07/30/20 18:39:19                                      Desc
                                                                                                       Page 1 of 1
                                                                                         Form 1
                                                                                                                                                                                                              Page: 1
                                                                     Individual Estate Property Record and Report
                                                                                      Asset Cases
Case No.:     20-62473-PMB                                                                                                                     Trustee Name:        (300320) S. Gregory Hays
Case Name:       ASCENSION AIR MANAGEMENT, INC                                                                                                 Date Filed (f) or Converted (c): 02/10/2020 (f)
                                                                                                                                               § 341(a) Meeting Date:       03/17/2020
For Period Ending:       06/30/2020                                                                                                            Claims Bar Date: 08/03/2020

                                                      1                                                 2                             3                            4                      5                          6

                                             Asset Description                                       Petition/                Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                                  (Scheduled And Unscheduled (u) Property)                         Unscheduled           (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                                      Values                Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                                        and Other Costs)                                                             Remaining Assets

    1       Cirrus single engine, fixed wing, 5-set aircraft with tail No. N928CS.                          400,000.00                              0.00                                              0.00               400,000.00

    2       Eclipse Aviation EA500 aircraft with Tail Number N826ES (u)                                     400,000.00                              0.00           OA                                 0.00               400,000.00
            Ownership not originally scheduled. Liens exceed value of aircraft. Notice of
            abandonment filed on 7/13/20. Dkt # 34.

    2       Assets                Totals        (Excluding unknown values)                              $800,000.00                               $0.00                                           $0.00              $800,000.00



        Major Activities Affecting Case Closing:
                                        Trustee filed a Notice of Abandonment of the Eclipse Aviation EA500 aircraft on 7/13/2020.
                                        Trustee is discussing a possible carve-out from the sale of the Cirrus SR22T.
                                        Trustee s investigating whether any other recovery or claims exist.


        Initial Projected Date Of Final Report (TFR):                        09/30/2022                                   Current Projected Date Of Final Report (TFR):                       09/30/2022


             07/30/2020                                                                                                     /s/S. Gregory Hays

                  Date                                                                                                      S. Gregory Hays
